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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 3:06cr00268 (PCD)
                                              :
SAMUEL KENNETH CLEMONS                                :

    ORDER ON MOTION FOR RETROACTIVE APPLICATION OF SENTENCING
                           GUIDELINES

       The Defendant, Samuel K. Clemons, moves for Retroactive Application of Sentencing

Guidelines to Crack Cocaine Offense in accordance with 18 USC § 3582 [Doc. No. 1464]. The

Court upholds its March 11, 2008 Order [Doc. No. 1198] stating that Defendant is ineligible for a

reduction based on his status as a career offender.

       SO ORDERED.

                                                  Dated at New Haven, Connecticut, June 10, 2010.


                                                                        /s/
                                                               Peter C. Dorsey, U.S. District Judge
                                                                       United States District Court
